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                               RUSSELL STERN, and XILINX, INC.
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                      9
                                                     UNITED STATES DISTRICT COURT
                    10
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    11
                                                                            Case No. 3:20-cv-01842-LAB-WVG
                    12         ANDRE CHARTRAND, an individual,
                               and as an aggrieved employee pursuant        DEFENDANTS' OPPOSITION TO
                    13         to the Cal. Labor Code’s Private             PLAINTIFF’S MOTION FOR
                               Attorneys General Act (“PAGA”), on           REMAND TO STATE COURT
                    14         behalf of the State of California and
                               other aggrieved employees                    DATE: 12/14/2020
                    15                                                      TIME: 11:30 a.m.
                                             Plaintiff,                     CTRM: 14A
                    16                                                      JUDGE: Hon. Larry A. Burns
                               v.
                    17
                               SOLARFLARE COMMUNICATIONS,
                    18         INC, a Delaware Corporation;                 Second Amended Complaint Filed:
                               RUSSELL STERN, an individual;                August 25, 2020
                    19         XILINX, INC., a Delaware Corporation;
                               and DOES 1-25, inclusive,
                    20
                                             Defendants.
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                      1        I.    INTRODUCTION
                      2              This is quintessentially a federal case. The Court need look no further than the
                      3        actual allegations in Plaintiff Andre Chartrand’s (“Plaintiff”) complaint. Plaintiff
                      4        brings causes of action for retaliation, wrongful termination, and defamation related to
                      5        his opposition to and interference with Defendant Solarflare Communications, Inc.’s
                      6        (“Solarflare”) alleged involvement in a secret government program to advance
                      7        international espionage by transmitting spy software to Chinese customers.
                      8              Plaintiff’s Motion for Remand should thus be denied for two reasons. First, the
                      9        case requires resolution of substantial, disputed issues of federal law in the form of a
                    10         threshold issue of justiciability. This Court needs to decide whether and to what extent
                    11         Plaintiff’s claims are justiciable or should be dismissed in light of the state secrets
                    12         privilege or the rule in Totten v. United States, 92 U.S. 105 (1876), which precludes
                    13         adjudication of claims based on alleged espionage agreements with the United States.
                    14         These rules may also bar the discovery of certain evidence and information.
                    15               Second, removal of this case was proper under the federal officer removal
                    16         provision—28 U.S.C. § 1442—because Plaintiff alleges that he interfered with a secret
                    17         government data-gathering program that was under the direction and control of a federal
                    18         government intelligence agency. Thus, according to Plaintiff’s own allegations in the
                    19         complaint, Defendants Solarflare, Xilinx, Inc. (“Xilinx”), and Russell Stern (“Stern”)
                    20         (collectively, “Defendants”) are entitled to be heard in a federal forum.
                    21         II.   FACTUAL AND PROCEDURAL HISTORY
                    22               On February 13, 2020, an action was commenced by Plaintiff in the San Diego
                    23         County Superior Court entitled Andre Chartrand v. Solarflare Communications, Inc.,
                    24         et al., and docketed as Case No. 37-2020-00008183-CU-WT-CTL, against Defendants
                    25         Solarflare and Stern. (Pl.’s Compl., Doc. No. 1-2.) On August 25, 2020, Plaintiff filed
                    26         a Second Amended Complaint (“SAC”) that alleged as follows:
                    27                      Around 2016, Defendant Stern secretly embroiled the
                                            company in a project (dubbed the “Secret Project”) involving
                    28                      illegal international espionage. As part of this Secret Project,
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                      1                       Stern agreed with a government intelligence agency to design
                                              Solarflare NICs embedded with spy software for transmission
                      2                       to Chinese customers. [Solarflare’s] software would then
                                              secretly return illicitly collected data back to the intelligence
                      3                       agency. This project involved international espionage in
                                              violation of numerous laws. Solarflare received millions of
                      4                       dollars for this design work. However, to conceal this activity
                                              from the company’s employees, the public, and the Board of
                      5                       Directors, Stern hid this revenue in Solarflare’s financial
                                              statements under a misnomer related to “consulting.”
                      6
                               (Pl.’s Second Am. Compl., Doc. No. 1-18 at 6:12-20.)
                      7
                                      Plaintiff further asserted that he confronted Defendant Stern about the Secret
                      8
                               Project and that Stern allegedly engaged in a campaign of retaliation against Plaintiff,
                      9
                               resulting in Plaintiff’s “pretextual” termination from Solarflare, claimed deprivation of
                    10
                               his highly valuable compensation associated with stock options and bonuses, and
                    11
                               alleged disparagement of Plaintiff’s reputation. 1 (Id. at 7:5-21, 8:9-16.) Xilinx was
                    12
                               added as a Defendant on August 25, 2020 with the filing of the Second Amended
                    13
                               Complaint. (Id.) On September 18, 2020, Xilinx timely filed a Notice of Removal,
                    14
                               which was joined by all Defendants. (Notice of Removal, Doc. No. 1.) Plaintiff moved
                    15
                               for remand on October 19, 2020. (Motion for Remand, Doc. No. 8.)
                    16
                               III.   LEGAL ARGUMENT
                    17
                                      A.      PLAINTIFF’S           CLAIMS           ARISE      UNDER         FEDERAL          LAW
                    18
                                              BECAUSE           THEY         REQUIRE           THE        RESOLUTION              OF
                    19
                                              SUBSTANTIAL, DISPUTED ISSUES OF FEDERAL LAW
                    20
                                      A defendant may remove to federal court “any civil action brought in a State
                    21
                               court of which the district courts of the United States have original jurisdiction.”
                    22

                    23         1
                                 The Background section of Plaintiff’s Motion is argumentative and improperly makes numerous
                               assertions on the merits, including that he was only one of 140 worldwide engineers who were not
                    24         selected for termination. (Motion for Remand, Doc. No. 8-1 at 11:18-21.) It is further improper to
                               rely on evidence outside the four corners of the complaint because the “inquiry begins and ends within
                    25         the four corners of the pleading” and the inquiry is “whether the document informs the reader, to a
                               substantial degree of specificity, whether all the elements of federal jurisdiction are present.” Harris
                    26         v. Bankers Life & Cas. Co., 425 F.3d 689, 695 n.5 (9th Cir. 2005) (internal quotation marks omitted).
                               In reality, Xilinx acquired Solarflare to gain Solarflare’s software capabilities. (Declaration of
                    27         Nazeem Nordeen, ¶ 3.) Plaintiff was the Vice President (“VP”) of Engineering at Solarflare, and
                               Xilinx already had its own VP of Engineering. (Id. ¶ 4.) Xilinx would have needed to terminate the
                    28         employment relationship with an existing VP of Engineering in order to hire Plaintiff. (Id.)
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                      1        28 U.S.C. § 1441(a). Accordingly, removal jurisdiction exists where a case filed in
                      2        state court presents a federal question or involves diversity of citizenship and meets the
                      3        statutory amount in controversy. 28 U.S.C. §§ 1331, 1332.
                      4               Plaintiff’s claims “arise under” federal law for purposes of 28 U.S.C. § 1331
                      5        because they require the resolution of substantial, disputed issues of federal law.
                      6        Federal question jurisdiction exists not only where federal law expressly creates
                      7        Plaintiff’s causes of action, but it also includes circumstances where federal law
                      8        sufficiently impacts Plaintiff’s state-law claims even though he has not brought a federal
                      9        cause of action. In 2005 in a unanimous decision, the Supreme Court reaffirmed this
                    10         principle it had “recognized for nearly 100 years that in certain cases federal question
                    11         jurisdiction will lie over state-law claims that implicate significant federal issues.”
                    12         Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005);
                    13         see also Empire Healthchoice Assur., Inc. v. McVeigh, 547 U.S. 677, 699 n.5 (2006).
                    14         Such jurisdiction lies when state-law claims, like those here, “necessarily raise a stated
                    15         federal issue, actually disputed and substantial, which a federal forum may entertain
                    16         without disturbing any congressionally approved balance of federal and state judicial
                    17         responsibilities.” Grable, 545 U.S. at 314.
                    18                As the Court in Grable explained, this rule “captures the commonsense notion
                    19         that a federal court ought to be able to hear claims recognized under state law that
                    20         nonetheless turn on substantial questions of federal law, and thus justify resort to the
                    21         experience, solicitude, and hope of uniformity that a federal forum offers on federal
                    22         issues.” Id. at 312. Even if only one of several state claims raises a substantial federal
                    23         question under this rule, all of the claims may be heard in federal court. See, e.g., City
                    24         of Chi. v. Int’l Coll. of Surgeons, 522 U.S. 156, 165 (1997) (citing 28 U.S.C. § 1367(a));
                    25         County of Santa Clara v. Astra USA, Inc., 401 F. Supp. 2d 1022, 1025-26 (N.D. Cal.
                    26         2005) (citing 28 U.S.C. § 1441(c)).2
                    27
                               2
                                 For examples of cases finding “arising under” jurisdiction under the rule described in Grable, see,
                    28         e.g., Nicodemus v. Union Pac. Corp., 440 F.3d 1227, 1234-37 (10th Cir. 2006) (adjudication of state-
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                      1               Federal jurisdiction over a state-law claim will lie if the federal issue is: (1)
                      2        necessarily raised, (2) actually disputed, (3) substantial, and (4) “capable of resolution
                      3        in federal court without disrupting the federal-state-balance approved by Congress.”
                      4        Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Grable, 545 U.S. at 314). All of the
                      5        Gunn requirements for federal question jurisdiction are met in this case.
                      6                       1.      PLAINTIFF “NECESSARILY RAISED” A FEDERAL ISSUE
                      7                               UNDER THE STATE SECRETS PRIVILEGE
                      8
                                      As an initial matter, Plaintiff confuses the invocation of the state secrets privilege
                      9
                               with the required showing for removal. (Memo. of Points & Authorities in Support of
                    10
                               Motion for Remand (“Motion for Remand”), Doc. No. 8-1 at 15:10-16:2, 22:1-11.) The
                    11
                               state secrets privilege does not need to be invoked prior to a determination on the issue
                    12
                               of federal question jurisdiction as long as the United States expresses its interest to do
                    13
                               so prior to the Court’s determination. In re Nat’l Sec. Agency Telecomms. Records
                    14
                               Litig., 483 F. Supp. 2d 934, 942 (N.D. Cal. 2007) (discussing federal government’s
                    15
                               intention to assert state secrets privilege in opinion on federal question jurisdiction).
                    16
                                      In his Motion for Remand, Plaintiff is arguing that the well-pleaded complaint
                    17
                               rule requires that the federal issue in this case must be embedded within the affirmative
                    18
                               elements of his state-law claims themselves. (See Motion for Remand, Doc. No. 8-1 at
                    19
                               17:7-18-6.) Although a federal defense is not sufficient to establish jurisdiction,
                    20
                               Plaintiff’s claims here will require adjudication of a substantial, disputed threshold
                    21
                               question of justiciability—whether and to what extent the rule in Totten and the state-
                    22

                    23         law claims for, among other things, trespass and unjust enrichment required determination of scope of
                               federal land grants); Broder v. Cablevision Sys. Corp., 418 F.3d 187, 194-96 (2d Cir. 2005) (state-law
                    24         claims for breach of contract, deceptive trade practices, fraud, and unjust enrichment turned on whether
                               defendant violated federal statute requiring uniform rates); Ormet Corp. v. Ohio Power Co., 98 F.3d
                    25         799, 806-08 (4th Cir. 1996) (claim to establish rights under contract required interpretation and
                               application of Clean Air Act); Almond v. Capital Props., Inc., 212 F.3d 20, 22-24 (1st Cir. 2000)
                    26         (breach of contract claim assumed to be created by state law required interpretation of contract
                               governed by federal law); Price v. Pierce, 823 F.2d 1114, 1118-20 (7th Cir.1987) (state breach-of-
                    27         contract claim required resolution of third-party beneficiary status, which was governed by federal
                               law); County of Santa Clara, 401 F. Supp. 2d at 1025-27 (state law claims turned on whether
                    28         defendants sold drugs at prices in excess of those required by federal statute).
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                      1        secrets privilege bar Plaintiff’s claims because their very subject matter is an alleged
                      2        relationship between Defendants and the federal government on national security
                      3        matters. Grable mandates this issue should be resolved in federal rather than state court.
                      4        In this regard, Plaintiff’s citations to California Shock Trauma Air Rescue v. State
                      5        Compensation Insurance Fund, 636 F.3d 538 (9th Cir. 2011), and Provincial
                      6        Government of Marinduque v. Placer Dome, Inc., 582 F.3d 1083 (9th Cir. 2009), are
                      7        misplaced. Neither case involves the state secrets privilege, the Totten rule, or a
                      8        threshold question of justiciability. Marinduque also involves the act-of-state defense
                      9        where the acts of foreign sovereigns taken within their own jurisdiction are deemed
                    10         valid, whereas this case involves protection of this country’s military and state secrets.
                    11               Resolving Plaintiff’s claims here further requires a second determination of a
                    12         disputed, and unquestionably substantial, question of federal law: whether and to what
                    13         extent the federal constitutionally-based privilege that protects military and state
                    14         secrets, and the rule in Totten, which similarly protects information about espionage
                    15         relationships, bars retaliation, wrongful termination, and defamation claims based on
                    16         unconfirmed reports about a secret project involving the government’s international
                    17         surveillance. In fact, Plaintiff specifically alleges the following in his complaint:
                    18                      Around 2016, Defendant Stern secretly embroiled the
                                            company in a project (dubbed the “Secret Project”) involving
                    19                      illegal international espionage. As part of this Secret Project,
                                            Stern agreed with a government intelligence agency to design
                    20                      Solarflare NICs embedded with spy software for transmission
                                            to Chinese customers. Solareflare's software would then
                    21                      secretly return illicitly collected data back to the intelligence
                                            agency. This project involved international espionage in
                    22                      violation of numerous laws. Solarflare received millions of
                                            dollars for this design work. However, to conceal this activity
                    23                      from the company's employees, the public, and the Board of
                                            Directors, Stern hid this revenue in Solarflare’s financial
                    24                      statements under a misnomer related to “consulting.”
                    25         (Pl.’s Second Am. Compl., Doc. No. 1-18 at 6:12-20.)
                    26               The state-secrets privilege “allows the government to withhold information from
                    27         discovery when disclosure would be inimical to national security.” Zuckerbraun v. Gen.
                    28         Dynamics Corp., 935 F.2d 544, 546-47 (2d Cir. 1991); see also United States v.
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                      1        Reynolds, 345 U.S. 1, 10, 18 (1953). It protects, among other things, the government’s
                      2        intelligence sources and methods. See, e.g., Sterling v. Tenet, 416 F.3d 338, 342-46
                      3        (4th Cir. 2005) (“disclosure of intelligence-gathering methods or capabilities . . . falls
                      4        squarely within the definition of state secrets” (internal quotation marks omitted)), cert.
                      5        denied, Sterling v. Goss, 546 U.S. 1093 (2006); Ellsberg v. Mitchell, 709 F.2d 51, 57
                      6        (D.C. Cir. 1983) (the state-secrets privilege protects against “disclosure of intelligence-
                      7        gathering methods or capabilities”); Halkin v. Helms, 690 F.2d 977, 993-94 (D.C. Cir.
                      8        1982); Halkin v. Helms, 598 F.2d 1, 8-9 (D.C. Cir. 1978).
                      9              The state-secrets privilege, when properly invoked, can be dispositive. Where
                    10         “the very subject matter of the action . . . [is] a matter of state secret,” invocation of the
                    11         state-secrets privilege renders the case nonjusticiable and requires immediate dismissal.
                    12         United States v. Reynolds, 345 U.S. at 11 n.26 (citing Totten); Kasza v. Browner, 133
                    13         F.3d 1159, 1166-67 (9th Cir. 1998); see also Zuckerbraun, 935 F.2d at 548 (dismissing
                    14         case where “very subject matter” of the action was a state secret). Even in cases whose
                    15         “very subject matter” is not a state secret, the privilege nevertheless requires dismissal
                    16         if national security concerns prevent plaintiffs from proving the prima facie elements
                    17         of their claim, and summary judgment in favor of the defendant if those concerns
                    18         prevent the defendant from invoking a valid defense. Kasza, 133 F.3d at 1166-67.
                    19               The related rule articulated in Totten likewise presents a threshold justiciability
                    20         issue of federal law. In Totten, the estate of an alleged Civil War spy brought a breach-
                    21         of-contract claim against the United States seeking to enforce an alleged espionage
                    22         agreement. See 92 U.S. at 105-06. The Court held that the action was not justiciable
                    23         because “public policy forbids the maintenance of any suit in a court of justice, the trial
                    24         of which would inevitably lead to the disclosure of matters which the law itself regards
                    25         as confidential.” Id. at 107. In 2005, the Supreme Court reaffirmed Totten, holding it
                    26         “precludes judicial review in cases . . . where success depends upon the existence of a
                    27         secret espionage relationship with the Government.” Tenet v. Doe, 544 U.S. 1, 8 (2005).
                    28         The Court made clear that the law requires a threshold inquiry that may be resolved
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                      1        even before addressing jurisdiction, since the law is “designed not merely to defeat the
                      2        asserted claims, but to preclude judicial inquiry” in the first instance. Id. at 6 n.4.
                      3              For these reasons, the application of the privilege is a threshold issue, not one
                      4        that will merely lurk in the background of the case.
                      5                     2.     THIS CASE PRESENTS AN ISSUE OF FEDERAL LAW
                      6                            THAT IS “ACTUALLY DISPUTED”
                      7              There can be no doubt that the interpretation of the state-secrets privilege and the
                      8        Totten rule in this case will be disputed, particularly since these rules may require
                      9        dismissal of Plaintiff’s action. For example, Plaintiff contends the need to adjudicate
                    10         the state-secrets privilege and the Totten rule does not give rise to federal jurisdiction
                    11         because they are defenses, not elements of Plaintiff’s causes of action. (Motion for
                    12         Remand, Doc. No. 8-1 at 17:17-26.) This argument, however, misconceives the nature
                    13         of these doctrines and rests on an unduly narrow reading of federal question jurisdiction.
                    14               As explained above, the state-secrets privilege and Totten rule present threshold
                    15         issues of justiciability that must be addressed before the merits of the case and thus do
                    16         not fall neatly into either of the two categories of federal issues Plaintiff acknowledges:
                    17         (i) elements of a plaintiff’s cause of action and (ii) defenses. See, e.g., In re Otter Tail
                    18         Power Co., 116 F.3d 1207, 1213-14 (8th Cir. 1997) (finding federal jurisdiction over
                    19         case raising issues of federal Indian law even though federal issues were not strictly
                    20         elements of plaintiff’s cause of action under state law). Plaintiff argues that the well-
                    21         pleaded complaint rule mandates that only federal issues that are elements of a cause of
                    22         action can confer federal jurisdiction. (Motion for Remand, Doc. No. 8-1 at 19:20-24.)
                    23               The rule, however, is not so rigid. To be sure, the heart of the “well-pleaded
                    24         complaint” rule is that a federal defense is insufficient to create federal jurisdiction.
                    25         Louisville & Nashville R.R. Co. v. Mottley, 211 U.S. 149, 152-54 (1908); Caterpillar,
                    26         Inc. v. Williams, 482 U.S. 386, 393 (1987). In most cases, the federal issue at stake will
                    27         either be a federal defense or an element of the cause of action, making the Mottley rule
                    28         and Plaintiff’s suggested standard indistinguishable. However, the defense is held by
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                      1        the federal government and is unique in that it presents a threshold issue in this case
                      2        totally unrelated to Defendants’ interests. Reynolds, 345 U.S. at 7-8. In only one case
                      3        of which Defendants are aware has a court considered whether a threshold federal
                      4        question of justiciability that directly implicates national security concerns at the heart
                      5        of federal power gives rise to federal jurisdiction.3 In re Nat’l Sec. Agency, 483 F. Supp.
                      6        2d at 942 (explaining state secret issues represent controlling questions of law where
                      7        there is a substantial ground for difference of opinion and that may materially advance
                      8        ultimate termination of the litigation).
                      9                The Supreme Court’s description of the relevant standard in Grable, moreover,
                    10         is sufficiently broad to encompass the federal issue raised here. As the Court described,
                    11         the relevant inquiry is whether state-law claims “implicate significant federal
                    12         issues” or “raise a stated federal issue, actually disputed and substantial.” 545 U.S.
                    13         308, 314 (emphasis added). Contrary to Plaintiff’s suggestion, the Supreme Court has
                    14         eschewed a “single, precise, all-embracing test for jurisdiction over federal issues
                    15         embedded in state-law claims.” Id. (internal quotation marks omitted); Merrell Dow
                    16         Pharms. Inc. v. Thompson, 478 U.S. 804, 808 (1986) (“there is no ‘single, precise
                    17         definition’”) (quoting Franchise Tax Bd., 463 U.S. at 8). The Court has suggested
                    18

                    19         3
                                 Even if Plaintiffs’ view of the well-pleaded complaint rule generally were accepted, it should not be
                               applied here. It is clear that Article III’s grant of federal jurisdiction over “all Cases . . . arising under
                    20         . . . the Laws of the United States” would extend to this case, as it has been construed to reach “any
                               case of which federal law potentially ‘forms an ingredient.’” Franchise Tax Bd. v. Constr. Laborers
                    21         Vacation Trust for S. Cal., 463 U.S. 1, 8 n.8 (1983) (quoting Osborn v. Bank of the United States,
                               22 U.S. 738, 823 (1824)); see also Verlinden B.V. v. Central Bank of Nigeria, 461 U.S. 480, 492
                    22         (1983). Moreover, the Court has recognized that the legislative history of the 1875 Act that was the
                               precursor to § 1331 and the similarity between the language of § 1331 and Article III “suggest[] that
                    23         the 44th Congress may have meant to confer the whole power which the Constitution conferred.”
                               Franchise Tax Bd., 463 U.S. at 8 n.8 (internal quotation marks omitted). It has only been judicially
                    24         created limitations—such as the well-pleaded complaint rule—that have narrowed § 1331’s scope.
                               See Verlinden, 461 U.S. at 494-95 (noting that § 1331 “has been continuously construed and limited
                    25         in the light of the history that produced it, the demands of reason and coherence, and the dictates of
                               sound judicial policy which have emerged from the [statute’s] function as a provision in the mosaic
                    26         of federal judiciary legislation.” (internal quotation marks omitted)). In the circumstances of this case,
                               however—where Plaintiff’s retaliation, wrongful termination, and defamation claims potentially
                    27         threaten to expose a secret project involving the government’s international surveillance program—it
                               strains credibility to conclude Congress would have intended to preclude federal jurisdiction.
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                      1        instead that it is “the nature of the federal interest at stake” that matters, see Merrell
                      2        Dow, 478 U.S. at 814 n.12, and endorsed a “common-sense accommodation of
                      3        judgment to [the] kaleidoscopic situations that present a federal issue,” Grable, 545 U.S.
                      4        at 2367 (internal quotation marks and alteration omitted).
                      5              Application of that “common-sense accommodation of judgment” inevitably
                      6        leads to the conclusion that issues related to the state-secrets privilege and Totten bar
                      7        will be disputed and can only be resolved through federal law interpretation.
                      8                     3.     THE FUNDAMENTAL ISSUE IN THIS CASE PRESENTS A
                      9                            “SUBSTANTIAL” QUESTION OF FEDERAL LAW
                    10               The interpretation of the state secrets privilege and the Totten rule further poses
                    11         a “substantial” question of federal law. These rules are designed to prevent disclosure
                    12         of information that would jeopardize national security. See Reynolds, 345 U.S. at 10;
                    13         Ellsberg, 709 F.2d at 56 (“[T]he United States, by invoking its state-secrets privilege,
                    14         may block discovery in a lawsuit of any information that, if disclosed, would adversely
                    15         affect national security.”). For this reason, the D.C. Circuit has noted that, if privileges
                    16         were ranked by importance, the “privilege to protect state secrets must head the list.”
                    17         Halkin, 598 F.2d at 7. Indeed, “[w]hen properly invoked, the state secrets privilege is
                    18         absolute” and “[n]o competing public or private interest can be advanced to compel
                    19         disclosure of information found to be protected” by it. Ellsberg, 709 F.2d at 57;
                    20         Reynolds, 345 U.S. at 11 (“[E]ven the most compelling necessity cannot overcome the
                    21         claim of privilege if the court is ultimately satisfied that military secrets are at stake.”).
                    22               Plaintiff cannot argue that remand is appropriate on the basis that “evidentiary
                    23         privileges” cannot form the basis for federal jurisdiction under the embedded federal
                    24         issue doctrine because it would elevate form over substance. In re Nat’l Sec. Agency,
                    25         483 F. Supp. 2d at 943 (explaining that “the state secrets privilege functions unlike a
                    26         standard evidentiary privilege”). Here, the privilege is “not only a contested federal
                    27         issue, but a substantial one,” for which there is “a serious federal interest in claiming the
                    28         advantages thought to be inherent in a federal forum.” Grable, 545 U.S. at 313.
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                      1        Plaintiff’s citation to Lippitt v. Raymond James, 340 F.3d 1033 (9th Cir. 2003), is a case
                      2        that is distinguishable in this regard because adjudication of the states secret privilege
                      3        as to potential evidence offered in defense of Defendants’ alleged retaliatory actions
                      4        against Plaintiff presents a substantial question of law. That is true even if the illegality
                      5        of the alleged secret government program does not need to be proved in support of
                      6        Plaintiff’s retaliation claim.
                      7               Plaintiff either fails to recognize or hopes that the Court will ignore that the crux
                      8        of his “well-pleaded complaint” provides the nexus to the state secrets privilege and the
                      9        Totten rule thereby creating a “substantial” question of federal law. It is worth
                    10         reviewing Plaintiff’s allegations in connection with his claim of retaliation both in his
                    11         SAC as well as in the brief filed in support of his pending motion to remand.
                    12                In his SAC, Plaintiff alleges the following:
                    13                       Around 2016, Defendant Stern secretly embroiled the
                                             company in a project (dubbed the “Secret Project”) involving
                    14                       illegal international espionage. As part of this Secret Project,
                                             Stern agreed with a government intelligence agency to
                    15                       design Solarflare NICs embedded with spy software for
                                             transmission to Chinese customers. Solareflare's software
                    16                       would then secretly return illicitly collected data back to the
                                             intelligence agency. This project involved international
                    17                       espionage in violation of numerous laws. Solarflare
                                             received millions of dollars for this design work. However,
                    18                       to conceal this activity from the company’s employees, the
                                             public, and the Board of Directors, Stern hid this revenue in
                    19                       Solarflare’s financial statements under a misnomer related to
                                             “consulting.”
                    20
                               (Pl.’s Second Am. Compl., Doc. No. 1-18 at 6:12-20 (emphasis added).)
                    21
                                      In his brief in support of his remand motion Plaintiff additionally states the
                    22
                               following: “Plaintiff complained to his CEO, Defendant RUSSELL STERN, about the
                    23
                               illegality of a Solarflare government project involving designing chips that allowed
                    24
                               them to covertly intercept those transmissions.” (Motion for Remand, Doc. No. 8-1 at
                    25
                               7:5-7.) Further, in that same brief, Plaintiff states:
                    26
                                             “Around late 2018, Stern asked his staff and Plaintiff for
                    27                       Solarflare’s highly proprietary, secret code. This set off alarm
                                             bells within the company. Plaintiff confronted CEO Stern,
                    28                       asking whether this “is for your secret project?” Although
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                      1                      Plaintiff had not and did not work on the project, he objected,
                                             and told Stern that, as CISO, he would not do anything illegal,
                      2                      stating “I’m not going to jail for you or this project.” Upset
                                             by this, Stern insisted, telling Plaintiff “I’m the CEO and I can
                      3                      do whatever I want.” From then on, Stern made it his mission
                                             to retaliate against his opposition.”
                      4
                               (Id. at 9:7-14.)
                      5

                      6               Plaintiff’s allegations and arguments in support of remand directly question the
                      7        validity of Defendants Stern’s and Solarflare’s alleged contract with the federal
                      8        government, and Defendant Stern’s alleged retaliatory acts taken to advance
                      9        Solarflare’s obligations to the federal government under the terms of that contract as
                    10         well as Stern’s alleged efforts to protect against the disclosure of the government project
                    11         in question. In that regard, Plaintiff’s claims are analogously similar to those of the
                    12         plaintiff in Bader Farms, Inc. v. Monsanto Co., No. 1:16-CV-299 SNLJ, 2017 WL
                    13         633815 (E.D. Mo. Feb. 16, 2017).
                    14                In the Bader case, the Court found that although a federal question did not appear
                    15         on the face of the complaint, it existed under the Grable analysis, holding that because
                    16         the plaintiff’s state law claims required examination of the actual practices of and
                    17         regulations guiding a federal agency it raised a significant federal issue. Id. at *2-*3.
                    18         Specifically, the Court found that the plaintiff’s fraudulent concealment claim asserting
                    19         that defendant Monsanto concealed certain material facts that led a federal agency to
                    20         deregulate certain genetically modified seeds was essentially “a collateral attack on the
                    21         validity of [the federal agency’s] decision to deregulate the new seeds.” Id. at *3.
                    22                The Bader Court determined that resolution of the issue of defendant Monsanto’s
                    23         alleged fraudulent concealment presented a substantial federal question holding that the
                    24         plaintiffs could: “ . . . only succeed . . . if they establish that the agency decision was
                    25         incorrect due to [Monsanto’s] fraudulent concealment.” Id. Similarly here, in order to
                    26         establish his prima facie case of retaliation, Plaintiff needs to prove he reasonably
                    27         believed that the alleged contract between Defendant Solarflare and the federal
                    28         government was “in violation of several laws,” as he alleges in his complaint. In so
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                      1        doing, Plaintiff needs to establish the existence of the contract, thus implicating and
                      2        collaterally challenging the legality of the federal government’s actions, as well as that
                      3        of Defendants and the terms of the contract including, of course, the alleged espionage,
                      4        which is the crux of the alleged agreement. In so doing, Plaintiff has raised “a
                      5        substantial question of federal law” that inextricably involves the federal intelligence
                      6        agency to which Plaintiff refers in his SAC and pending motion.
                      7              Nor can Plaintiff argue that the assertion of the state secrets defense is
                      8        hypothetical. (Motion for Remand, Doc. No. 8-1 at 23:5-21.) The federal government
                      9        previously filed a statement of interest prior to the motion for remand hearing in a
                    10         similar case and did not assert the privilege until after federal question jurisdiction had
                    11         been resolved. In re Nat’l Sec. Agency, 483 F. Supp. 2d at 942, 945 (discussing federal
                    12         government’s intention to assert the privilege and addressing statement of interest filed
                    13         by the United States). Plaintiff’s allegations related to unconfirmed reports about an
                    14         alleged secret government project could result in dismissal of the action or could bar
                    15         necessary evidence needed by Defendants to present their defense in this lawsuit. As a
                    16         result, the alleged international surveillance program implicates federal interests of the
                    17         highest order that are sufficient to create federal jurisdiction.
                    18                      4.     THE CASE PROCEEDING IN FEDERAL COURT WILL
                    19                             NOT DISRUPT THE FEDERAL-STATE BALANCE
                    20               Allowing cases involving the state-secrets privilege and the Totten rule to
                    21         proceed in federal, rather than state, court will not “disturb[] any congressionally
                    22         approved balance of federal and state judicial responsibilities.” Grable, 545 U.S. at
                    23         314. It is difficult to imagine a set of cases that more squarely implicate federal interests
                    24         than those in which the disclosure of national security information is at issue. Because
                    25         the state-secrets privilege is “derived from the President’s constitutional authority over
                    26         the conduct of this country’s diplomatic and military affairs,” federal courts, rather than
                    27         state courts, are uniquely situated to determine its interpretation. El-Masri v. Tenet, 437
                    28         F. Supp. 2d 530, 535 (E.D. Va. 2006).
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                      1              Contrary to Plaintiff’s assertion, allowing cases involving the state secrets
                      2        privilege or the Totten bar into federal court would not result in a flood gate of litigation
                      3        or waste judicial resources. (Motion for Remand, Doc. No. 8-1 at 25:23-28:1.) Plaintiff
                      4        initially argues that “[a] 2009 survey of reported cases found that the government
                      5        invoked [the state secrets privilege] just 69 times between 1980 and 2006,” and then
                      6        later warns of a flood gate of litigation. (Id. at 16:11-12.) Plaintiff cannot have it both
                      7        ways. In the end, it is unimaginable that Congress would mandate that crucial national
                      8        security issues at stake here would be determined by state rather than federal courts.
                      9              B.     THIS COURT ALSO HAS JURISDICTION UNDER THE
                    10                      FEDERAL OFFICER REMOVAL STATUTE
                    11               This Court has jurisdiction for yet another independent reason. Jurisdiction exists
                    12         under the federal officer removal statute, which permits removal by “[t]he United States
                    13         or any agency thereof or any officer (or any person acting under that officer) of the
                    14         United States or any agency thereof . . . for any act under color of such office.”
                    15         28 U.S.C. § 1442(a)(1) (emphasis added). As the Supreme Court has often explained,
                    16         the federal officer removal statute reflects principles of federal supremacy: The federal
                    17         government “‘can act only through its officers and agents, and they must act within the
                    18         States. If, when thus acting, and within the scope of their authority, those officers can
                    19         be arrested and brought to trial in a State court . . . the operations of the general
                    20         government may at any time be arrested at the will of one of its members.’” Willingham
                    21         v. Morgan, 395 U.S. 402, 406 (1969) (quoting Tennessee v. Davis, 100 U.S. 257, 263
                    22         (1879)). The federal officer removal statute is neither “narrow” nor “limited,” but
                    23         should be read broadly so as not to frustrate its underlying rationale. Id.
                    24               This provision allows removal where (1) “[the defendant] is a ‘person’ within the
                    25         meaning of the statute”; (2) “there is a causal nexus between its actions, taken pursuant
                    26         to a federal officer’s directions, and plaintiff’s claims”; and (3) “it can assert a
                    27         ‘colorable federal defense.’” Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1251
                    28         (9th Cir. 2006) (quoting Jefferson County v. Acker, 527 U.S. 423, 431 (1999)). There
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                      1        is no issue with the first element because corporations are “persons” within the meaning
                      2        of the statute. See Goncalves v. Rady Children’s Hospital San Diego, 865 F.3d 1237,
                      3        1244 (9th Cir. 2017) (holding that corporations are persons under § 1442(a)(1)).
                      4                     1.       PLAINTIFF CONFUSES THE ASSERTION OF THE STATE
                      5                              SECRETS PRIVILEGE WITH THE SHOWING REQUIRED
                      6                              FOR REMOVAL TO FEDERAL COURT
                      7              As stated previously, Plaintiff confuses the invocation of the state secrets
                      8        privilege with the required showing for removal. (Motion for Remand, Doc. No. 8-1 at
                      9        15:10-16:2, 22:1-11.) The state secrets privilege does not need to be invoked prior to
                    10         a determination on the issue of federal question jurisdiction as long as the United States
                    11         expresses its interest prior to the Court’s determination of jurisdiction. In re Nat’l Sec.
                    12         Agency, 483 F. Supp. 2d at 942 (discussing federal government’s intention to assert
                    13         state secrets privilege in opinion addressing federal question jurisdiction). Defendants
                    14         can act on the government’s behalf even if the state secrets privilege belongs to the
                    15         government. Further, there is case law holding that § 1442(a)(1) can be used by a
                    16         federal contractor to effectuate removal.
                    17               For example, in Camacho v Autoridad de Telefonos de Puerto Rico, 868 F.2d
                    18         482 (1st Cir. 1989), the First Circuit applied the federal officer removal statute to a
                    19         federal contractor.    The court held that an action against quasi-public telephone
                    20         companies for participating in a wiretap of plaintiffs’ telephones in violation of Puerto
                    21         Rican law was properly removed to federal district court by a federal contractor under
                    22         the federal officer removal statute. 868 F.2d at 489. The reach of § 1442(a)(1) extended
                    23         to private persons because the carriers acted at the behest of federal officers conducting
                    24         the wiretap pursuant to the Omnibus Crime Control and Safe Streets Act (18 U.S.C. §§
                    25         2510-20). Id. Thus, Plaintiff’s argument that remand is required because only the
                    26         government may assert the privilege fails.
                    27         ///
                    28         ///
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                      1                     2.    PLAINTIFF ALLEGES HE WAS INTERFERING WITH A
                      2                           SECRET GOVERNMENT PROGRAM
                      3              If accepted as true, the allegations of Plainitff’s “well pleaded complaint”
                      4        establish that Plaintiff was actively opposing and interfering with a secret government
                      5        program to which he also claims his employer had a contractual obligation. As such,
                      6        Plaintiff’s interference with this federal program allegedly resulted in the termination
                      7        of his employment and forms the basis for all of his claims.
                      8              Even if Defendants were not expressly directed by the federal agency with which
                      9        it had a contract to terminate Plaintiff’s employment, because of his efforts to interfere
                    10         with that contract, impliedly, Defendants as a party to the contract were required to take
                    11         reasonable steps to deliver their part of the bargain to the federal government. (CACI
                    12         Jury Instruction No. 325: Breach of the Covenant of Good Faith and Fair Dealing (“In
                    13         every contract or agreement there is an implied promise of good faith and fair dealing.
                    14         This implied promise means that each party will not do anything unfairly to interfere
                    15         with the right of any other party to received the benefits of the contract.”).) Failing to
                    16         do so could have resulted in a material breach of the contract by Defendants and liability
                    17         therefore. (Id.)
                    18               Likewise, Plaintiff, as an employee of Defendant Solarflare, had a duty to carry
                    19         out tasks assigned or delegated by his employer. Cal. Labor Code §§ 2860, 2863;
                    20         Huong Que, Inc. v. Lue, 150 Cal. App. 4th 400, 410-11 (2007). Failing or refusing to
                    21         follow his employer’s directions could result in discipline up to and including
                    22         termination. See, e.g., Pugh v. See’s Candies, Inc., 203 Cal. App. 3d 744, 769 (1988)
                    23         (holding, in a case where a high-ranking managerial employee alleged he was
                    24         wrongfully terminated by his employer after claiming the employer entered into an
                    25         illegal contract, that “. . . an employer must have wide latitude in making independent,
                    26         good faith judgments about high-ranking employees without the threat of a jury second-
                    27         guessing it business judgment”).
                    28               Although the reasons for Plaintiff’s termination are not relevant to the Court’s
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                      1        inquiry on the pending motion, what is relevant is whether Defendants had the authority
                      2        based on the alleged agreement with the federal government to act to discipline the
                      3        Plaintiff for his efforts to interfere with the alleged contract between Defendant
                      4        Solarflare and the government. Clearly, as a party to the alleged contract, Defendant
                      5        Solarflare had that right and obligation. By doing so, Defendant Solarflare acted
                      6        consistent with its obligation to its partner-in-contract to fulfill the terms of that
                      7        agreement. In Isaacson v. Dow Chemical Co., 517 F.3d 129, 137 (2d Cir. 2008), the
                      8        Court held that the “acting under” requirement was met when defendant chemical
                      9        companies produced dioxin in Agent Orange as required by the terms of its contract
                    10         with the federal government for production of a product used during war. The Court
                    11         reasoned that, in the absence of the defendant companies, the government would have
                    12         had to produce the product itself and therefore defendant companies had received
                    13         delegated authority. Id. Through their contracts with the government to produce Agent
                    14         Orange, the chemical companies assisted and helped carry out the duties or tasks of
                    15         officers at the Department of Defense. Id. Defendants thus had the requisite “special
                    16         relationship” with the government to meet the “acting under” element of the federal
                    17         officer removal statute. Id. The requirement was further met because the defendants
                    18         showed that the acts for which they were being sued—the production of dioxin in Agent
                    19         Orange—occurred because of what they were asked to do by the government. Id.
                    20               The holding in Isaacson stands in stark contrast to Plaintiff’s citation to Arness
                    21         v. Boeing N.A., 997 F. Supp. 1268 (C.D. Cal. 1998). In Arness, Boeing made and tested
                    22         rocket engines under a federal contract with NASA and was alleged to have negligently
                    23         allowed TCE and other toxic substances to enter the soil and groundwater. Id. at 1270.
                    24         The state secrets privilege or the Totten bar were not at issue, and Boeing was further
                    25         not performing a national security function impacting state or military secrets. Boeing
                    26         claimed in support of its removal that it was performing its obligations under its contract
                    27         with the government and “at the direction of federal officers.” Id. at 1274. The Court,
                    28         however, concluded that while the government may have directed production activities,
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                      1        the government did not restrict Boeing’s ability to implement safeguards for disposal.
                      2        In connection with the plaintiff’s claims in Arness, the Court determined that Boeing
                      3        was not being directed by the federal government in improperly disposing of toxic
                      4        material and remanded the case.
                      5              In a case involving the state secrets privilege or the Totten bar, defendants are
                      6        often unable to admit or deny whether they were acting under the direction of the federal
                      7        government. In re Nat’l Sec. Agency, 483 F. Supp. 2d at 943. In such cases, “defendants
                      8        must rely on [plaintiff’s] complaint to demonstrate that they acted under the direction
                      9        of a federal officer.” Id.
                    10               In this case, Plaintiff alleged as follows in his complaint:
                    11                      Around 2016, Defendant Stern secretly embroiled the
                                            company in a project (dubbed the “Secret Project”) involving
                    12                      illegal international espionage. As part of this Secret Project,
                                            Stern agreed with a government intelligence agency to design
                    13                      Solarflare NICs embedded with spy software for transmission
                                            to Chinese customers. Solareflare's software would then
                    14                      secretly return illicitly collected data back to the intelligence
                                            agency. This project involved international espionage in
                    15                      violation of numerous laws. Solarflare received millions of
                                            dollars for this design work. However, to conceal this activity
                    16                      from the company's employees, the public, and the Board of
                                            Directors, Stern hid this revenue in Solarflare’s financial
                    17                      statements under a misnomer related to “consulting.”
                    18         (Pl.’s Second Am. Compl., Doc. No. 1-18 at 6:12-20.) Plaintiff further asserted that he
                    19         confronted Defendant Stern about the Secret Project and that Stern allegedly engaged
                    20         in a campaign of retaliation against Plaintiff, resulting in Plaintiff’s “pretextual”
                    21         termination from Solarflare, claimed deprivation of his highly valuable compensation
                    22         associated with stock options and bonuses, and alleged disparagement of Plaintiff’s
                    23         reputation. (Id. at 7:5-21, 8:9-16.)
                    24               Similar to Isaacson, Defendants were allegedly producing spy software to
                    25         perform a national security function to advance international espionage. Defendants
                    26         were thus carrying out the express terms of their contract with the government as alleged
                    27         by Plaintiff by assisting and helping to carry out the duties of officers at a government
                    28         intelligence agency. As such, and based on Plaintiff’s “well pleaded complaint,”
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                      1        Defendants had the requisite “special relationship” with the government to meet the
                      2        “acting under” element of the federal officer removal statute.
                      3              Based on Plaintiff’s own allegations, Defendants are being sued for their
                      4        involvement in the secret government program. Plaintiff’s claims are based on what
                      5        Defendants were asked to do by the government and were contractually bound to carry
                      6        out pursuant to the contract alleged by Plaintiff. Thus, “whether the challenged act was
                      7        outside the scope of Defendants’ official duties, or whether it was specifically directed
                      8        by the federal Government, is one for the federal—not state—courts to answer.”
                      9        Isaacson, 517 F.3d at 138 (citing Willingham v. Morgan, 395 U.S. 402, 409 (1969)).
                    10                      3.    DEFENDANTS ARE UNABLE TO ADMIT OR DENY IF
                    11                            THEY ARE A FEDERAL CONTRACTOR
                    12               Contrary to Plaintiff’s argument, Defendants did not deny that they are a federal
                    13         contractor in any way. (Motion for Remand, Doc. No. 8-1 at 31:25-32:1.) Instead, in
                    14         their amended Answer, Defendants denied the alleged “illegal” nature of any activity
                    15         engaged in by them and also denied Plaintiff’s allegation that they had failed to notify
                    16         their Board of Directors and other stakeholders of their activities on behalf and at the
                    17         direction of the federal government. (First Am. Answer, Doc. No. 1-19 at 6:6-19.)
                    18               Because it is fully expected that the Government will assert the state-secrets
                    19         privilege in this case, Defendants are unable to admit or deny the allegations of the
                    20         Complaint at this time. In re Nat’l Sec. Agency, 483 F. Supp. 2d at 943. Even accepting
                    21         Plaintiff’s allegations as true, however, the allegations themselves establish that
                    22         Defendants acted at the direction of agencies or officers of the United States, or persons
                    23         acting under such agencies or officers, under color of office. As such, Plaintiff’s
                    24         argument based on Defendant’s answer is misleading as a “red herring” at best.
                    25         ///
                    26         ///
                    27         ///
                    28
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                      1        IV.   CONCLUSION
                      2              For all the foregoing reasons, Defendants respectfully request that the Court deny
                      3        Plaintiff’s Motion for Remand.
                      4

                      5        Dated: November 30, 2020
                      6
                                                                         /s/Charles Cannizzaro
                      7                                                  RICHARD S. FALCONE
                                                                         CHARLES CANNIZZARO
                      8                                                  LITTLER MENDELSON, P.C.
                                                                         Attorneys for Defendants
                      9                                                  SOLARFLARE
                                                                         COMMUNICATIONS, INC.,
                    10                                                   RUSSELL STERN, and XILINX, INC.
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